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                                             IN THE
                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division




YENNI PATRICIA NUNEZ                          )
FUENTES, et al.,                              )
                                              )
Plaintiffs,                                   )
                                              )
v.                                            ) Civil Action No. 1:15-cv-1337 (AJT/IDD)
                                              )
PRESIDENTIAL DETAILING                        )
L.L.C., et al.                                )
                                              )
Defendants.                                   )
____________________________________)


                               JUDGMENT PURSUANT TO RULE 68

           WHEREAS, plaintiffs commenced this action by filing a complaint on October 14,
     2015, alleging violations of the Fair Labor Standards Act of 1938, 29 U.S.C. § 201, et seq.;
     and

           WHEREAS, on December 28, 2015, defendants Kevin Rohalmin, Presidential Detailing
     L.L.C., and New Look Auto Appearance, LLC made an Offer of Judgment in this matter
     pursuant to Rule 68 of the Federal Rules of Civil Procedure (Exhibit A attached hereto); and

           WHEREAS, on January 7, 2016, plaintiffs accepted the defendants’ offer (Exhibit B
     attached hereto):

           NOW THEREFORE, IT IS HEREBY ORDERED THAT:

           1. Judgment be and hereby is entered against the Defendant Kevin Rohalmin,
              Presidential Detailing L.L.C., and New Look Auto Appearance, LLC in favor of
              the Plaintiffs Javier Enrique Ayala, Alejandro Barrientos, Elmer Barrientos,
              Carlos Mario Garcia, Edwin Escobar Zometa, Elvia Marina Caceros, Jose
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         Alejandro Lopez Garcia, Yessica Ordonez, Regina Polanco Rosales, Christopher
         J. Fincham, Ed Bryan Wilson, Jose Polanco, G. Maribel S. Quihzpe, and Veronica
         Murillo in the sum of one hundred eighty-seven thousand four hundred nineteen
         dollars and eighty-four cents ($187,419.84), pursuant to the Rule 68 offer of
         judgment, and the defendants Kevin Rohalmin, Presidential Detailing L.L.C., and
         New Look Auto Appearance, LLC (hereinafter “defendants”) shall each be jointly
         and severally liable to the plaintiffs for this amount. The defendants also shall
         pay plaintiffs’ reasonable attorney’s fees and costs as of the date of the Offer of
         Judgment in an amount to be determined upon motion by plaintiffs’ attorney. The
         amount of the attorney’s fees and costs shall be paid to plaintiff’s attorney,
         Virginia Employment and Family Law Office.
      2. The voluntarily dismissal, with prejudice, of the claims of Yenni Patricia Nunez
         Fuentes, Juan Jose Caceros Codoy, Elvia Maria Caceros, Leticia Calix, and
         Astrid Gisselle Cribas is hereby approved and such dismissal shall constitute a
         full and complete waiver of claims by such individuals.
      3. This judgment shall be in full satisfaction of all federal and state claims or rights
         that plaintiffs may have to damages, or any other form of relief, arising out of the
         alleged acts or omissions of defendants or any official or employee, either past or
         present, of defendants, in connection with the facts and circumstances that are the
         subject of this action.
      4. The offer of judgment was made for the purposes specified in Rule 68 of the
         Federal Rules of Civil Procedure, and is not to be construed as an admission of
         liability by defendants or any official, employee, representative, or agent of the
         defendants, past or present; nor is it an admission that plaintiffs have suffered any
         damages.
      5. Acceptance of the offer of judgment has acted to release and discharge
         defendants, their successors and assigns, and all past and present officials,
         employees, representatives and agents of the defendants, from any and all claims
         that were or could have been alleged by any plaintiffs in this action.




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      Dated: __________, 2016

      SO ORDERED:



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   ANTHONY J. TRENGA, U.S.D.J




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